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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                              NO. 4:14CR00191-04-JLH

NATHAN LESTER RAMER                                                             DEFENDANT

                                          ORDER

      Pending is defendant Nathan Ramer’s Motion for Two Point Reduction based on Sentencing

Guideline Amendment 782.

      At sentencing on November 24, 2015, defendant had a total offense level of 29 (because he

was responsible for between 500 grams and 1.5 kilograms of methamphetamine) and a criminal

history category of VI. His guideline range was 151-188 months. So, Amendment 782 was

considered when defendant’s guideline range was calculated.       Furthermore, defendant was

sentenced to the mandatory minimum of 120 months. Documents #530 and #531.

      Accordingly, defendant’s Motion for Two Point Reduction is DENIED. Document #729.

      IT IS SO ORDERED this 25th day of May, 2016.



                                                  __________________________________
                                                  UNITED STATES DISTRICT JUDGE
